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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :   CHAPTER 13
MARK A. CARMOLINGO, SR. AND                   :
KAREN L. CARMOLINGO                           :
                 DEBTORS                      :   BANKRUPTCY NO. 14-17449-JKF

                                             ORDER


       AND NOW, this ________ day of ___________________, 2015, upon consideration of

Debtors’ Objection to the Proof of Claim of Wells Fargo Bank, N.A. (Claim No. 4),

       IT IS HEREBY ORDERED, that the Wells Fargo Bank, N.A. (Claim No. 4) is

disallowed in its entirety and hereby stricken.

                                                  BY THE COURT


                                                  _______________________________
                                                  Hon. Jean K. FitzSimon
                                                  United States Bankruptcy Judge
cc:
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Wells Fargo Bank, N.A.
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